4:15-cr-03101-RGK-CRZ             Doc # 138   Filed: 07/19/16   Page 1 of 1 - Page ID # 406




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                                CASE NO. 4:15CR3101

                     Plaintiff,



      vs.                                                           ORDER

Marliuvys Prado-Martinez

                     Defendant.




       This matter is before the Court for sentencing. The Court intends to include the

following provision in its Judgment in this case:


       The defendant shall reside in a residential reentry center (RRC) for a period of

up to 180 days in the correctional component, to commence at the direction of

the Probation Officer, and the defendant shall observe the rules of that facility. The

defendant may be discharged earlier than 180 days by the Probation Officer, if the

defendant is determined to be in full compliance with the conditions of supervision.


       IT IS SO ORDERED.

DATED July 19, 2016.                                BY THE COURT:

                                                    s/ Richard G. Kopf
                                                    Senior United States District Judge
